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IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

In re:

TRIBUNE COMPANY, et ai.,

Debtors.

Chapter 11

Case No. 08-13141 (KIC)
Jointly Administered

NOTICE OF FEE APPLICATION

Joseph J. McMahon, Jr., Esquire
Office of the United States Trustee
J. Caleb Boggs Federal Building

844 King Street, Suite 2207, Lockbox 35

Wilmington, DE 19801
(U.S. Trustee)

Kenneth P, Kansa, Esquire
Jillian K. Ludwig, Esquire
Sidley Austin LLP

One South Dearborn Street
Chicago, EL 60603
(Counsel to Debtors)

Donald S. Bernstein, Esquire

James A. Florack, Esquire

Damian S. Schaible, Esquire

Davis Polk & Wardwell

450 Lexington Avenue

New York, NY 10017

(Counsel to Administrative Agent for
Prepetition Lenders, JPMorgan Chase
Bank, N.A.)

Stuart M. Brown, Esquire

Edwards Angell Palmer & Dodge
919 North Market Street, Suite 1500
Wilmington, DE 19801

(Counsel to Barclays Bank PLC)

Howard Seife, Esquire

David M. LeMay, Esquire
Douglas E. Deutsch, Esquire
Chadbourne & Parke LLP

30 Rockefeller Plaza

New York, NY 10112

(Counsel to Creditors’ Committee)

Mark D. Coilins, Esquire

Katisha D, Fortune, Esquire
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920 N. King Street

P.O. Box 551

Wilmington, DE 19899-0511
(Counsel to Administrative Agent for
Prepetition Lenders, JPMorgan
Chase Bank, N.A.)

Objection Date: April 20, 2010 at 4:00 p.m.
Hearing Date: Only if Objections are filed

Brian Trust, Esquire

Amit K. Trehan, Esquire

Mayer Brown LLP

1675 Broadway

New York, NY 10019-5820
(Counsel to Barclays Bank PLC)

Adam G. Landis, Esquire
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919 Market Street, Ste. 1800
Wilmington, DE 19801

(Counsel to Creditors’ Committee)

John L. Decker, Esquire
Stuart Maue

3840 McKelvey Rd.

St. Louis, MO 63044
(Fee Auditor)

PLEASE TAKE NOTICE that on March 31, 2010, Sidley Austin LLP filed the
Fourteenth Monthly Fee Application of Sidley Austin LLP for Compensation for Services
Rendered and Reimbursement of Expenses as Counsel to the Debtors and Debtors in
Possession for the Period of February 1, 2010 through February 28, 2010 (the
“Application”), which seeks approval of a monthly fee application for professional services
rendered to the Debtors in the amount of $2,247,906.25, together with reimbursement of
disbursements in the amount of $69,257.22.

You are required to file a response, if any, to the Application on or before April 20, 2010

at 4:00 p.m. (Eastern Time),

46429/0001-547447 Lvi7
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At the same time, you must also serve a copy of the response upon movant’s counsel so
that it is received by 4:00 p.m. on April 20, 2010:

Norman L. Pernick, Esquire Kenneth Kansa, Esquire

J. Kate Stickles, Esquire Jillian K. Ludwig, Esquire
COLE, SCHOTZ, MEISEL, SIDLEY AUSTIN LLP
FORMAN & LEONARD, P.A. One South Dearborn Street
500 Delaware Avenue, Suite 1410 Chicago, IL 60603
Wilmington, DE 19801 kkansa@sidley.com

npernick @coleschotz.com

A HEARING ON THE APPLICATION WILL BE HELD, ONLY IF AN OBJECTION
IS TIMELY FILED, OR THE COURT DIRECTS OTHERWISE, AT A DATE AND TIME TO
BE SCHEDULED BEFORE THE HONORABLE KEVIN J. CAREY, CHIEF USS.
BANKRUPTCY JUDGE, U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
DELAWARE, 324 NORTH MARKET STREET, 5°" FLOOR, WILMINGTON, DELAWARE
19801.

IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT
MAY GRANT THE RELIEF REQUESTED BY THE APPLICATION WITHOUT FURTHER
NOTICE OR HEARING.

Dated: March 31, 2010 COLE, SCHOTZ, MEISEL,
FORMAN & LEONARD, P.A.

By: boty aud

Nornjan L. Pérnick (No. 2290)

J. Kate Stickles (No. 2917)
Patrick J. Reilley (No. 4451)

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ATTORNEYS FOR DEBTORS
AND DEBTORS IN POSSESSION

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